Case 3:06-cr-00086-WHB-JCS   Document 70   Filed 12/18/06   Page 1 of 6
Case 3:06-cr-00086-WHB-JCS   Document 70   Filed 12/18/06   Page 2 of 6
Case 3:06-cr-00086-WHB-JCS   Document 70   Filed 12/18/06   Page 3 of 6
Case 3:06-cr-00086-WHB-JCS   Document 70   Filed 12/18/06   Page 4 of 6
Case 3:06-cr-00086-WHB-JCS   Document 70   Filed 12/18/06   Page 5 of 6
Case 3:06-cr-00086-WHB-JCS   Document 70   Filed 12/18/06   Page 6 of 6
